Case 1:05-cr-10036-.]DT Document 33 Filed 08/19/05 Page 1 of 3 Page|D 27 /

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lN THE UN|TED STATES D|STR|CT COURT

FoR THE WEerRN DlsTRrCr or TENNESSEE 05 AUG |; -,
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UN|TED STATES OF AMER|CA

VS. N0.05-10436-T

\T/~__/`_/\_/\_/-_./

FEL|C|ANNA T. BROWN

 

MOTION TO CONTINU RIAL

 

  
 
  
   
  
  
 

COMES NOW, the Defendant and Wo respectfully request this Court continue the
Defendant’s trial set for August 24, 2005._ s grounds, the Defendant Would state as follows:

l. A superceding indict ent was returned on August 15, 2005.
alleges that Ms. Brown conspired with a now named Samuel

addition, the indictment alleges Ms. Brown violated 21 U.S.C. §
offense from the previous indictment

Lawrence.
856, a

3. D endant Would request additional time to complete discovery on these new
targes.

Counsel for the Govemment is not opposed to this motion to continue the trial
setting

WHEREFORE, the above premises considered, the Defendant respectfully requests this
Court enter an order moving the trial date.

Respectfully submitted

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~-D“ANNYR ELL/ls, 020747

MOT|ON GRANTED 1289 N. Highland Ave.

DATE: ,LMQSM_¢M P.o. sex 3146
b Jackson, TN 38303-3512
(Q‘U"M ("/'31)988-9900
James D. Todd
U S Drslrr`cl Judge

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CERTIFICATE OF SERVICE

l certify l have served an exact copy of the foregoing on opposing counsel by mailing,
postage prepaid or by hand delively.

Entered this wl z day of rif /g?/ , 2005.

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g z ) , ]i_/__)/M __/c/a:
` DANNYR.ELLIS '

 

DISTRIC COURT - WESRNTE D"'TRCT 0 TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
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Jerry R. Kitchen

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Honorable J ames Todd
US DISTRICT COURT

